
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-03-346-CV



GREEN FLY S.R.1., FREEAIR, S.P.A., &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT
S

FREEAIR SYSTEM, S.R.1., ELITALIANA 

S.P.A., AND MANFREDO WINDISCH-GRAETZ
	



V.



BELL HELICOPTER SERVICES, INC., 					 APPELLEE
S

BELL HELICOPTER TEXTRON, A DIVISION 

OF TEXTRON CANADA LIMITED, AND BELL 

HELICOPTER TEXTRON, INC.

------------

FROM THE 348
TH
 
DISTRICT COURT OF TARRANT COUNTY

------------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered the parties “Agreed Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(2), 43.2(f).

Appellants shall pay all costs of this appeal, for which let execution issue.

PER CURIAM

PANEL B:	DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: April 8, 2004

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




